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   SO ORDERED.

   SIGNED this 1 day of March, 2018.




                                                                               ____________________________________
                                                                               David M. Warren
                                                                               United States Bankruptcy Judge

   ______________________________________________________________________




                               IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                           RALEIGH DIVISION
IN RE:

       KIMBERLY ANN MARUT                                                         17-06280-5-DMW
       DEBTOR(S)                                                                    CHAPTER 7




                                         ORDER GRANTING RELIEF FROM
                                              AUTOMATIC STAY

THIS CAUSE coming before the United States Bankruptcy Judge for the Eastern District of North Carolina upon the
motion of Nationstar Mortgage LLC d/b/a Mr. Cooper as servicer for Wells Fargo Bank, National Association, as Trustee
for Structured Adjustable Rate Mortgage Loan Trust, Mortgage Pass-through Certificates, Series 2004-16 for relief from
the automatic stay regarding the Debtors' real property located at 1032 Hawk Hollow Lane, Wake Forest, NC 27587. And
it appearing to the Court that no party in interest has objected or filed any response and the time for doing so has expired,
the Court makes the following:


                                                  FINDINGS OF FACT

         1. On December 29, 2017, the Debtor(s), Kimberly Ann Marut, filed a petition with the Bankruptcy Court for
the Eastern District of North Carolina under Chapter 7 of Title 11 of the United States Code.

      2. On the date the petition was filed, the Debtor(s) was the owner of real property (“Property”) located at 1032
Hawk Hollow Lane, Wake Forest, NC 27587.

        3. The Property is subject to the first lien of the Movant by the Deed of Trust recorded in the Wake County
Public Registry (“Deed of Trust”).

        4. The said Deed of Trust secures a Note in favor of Realty Mortgage Corporation, in the original principal
amount of $375,920.00, dated August 10, 2004 ("Note").

         5. The said Note and Deed of Trust have been transferred and assigned to Wells Fargo Bank, National
Association, as Trustee for Structured Adjustable Rate Mortgage Loan Trust, Mortgage Pass-through Certificates, Series
2004-16.


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        6. The Debtor(s) has defaulted in the payment of the mortgage payments. At the time of the filing of the
Motion for Relief, the amount of the default, exclusive of attorney fees and costs, is as follows:


              3 payments at $2,598.90                                       $7,796.70
              November 1, 2017 To January 1, 2018

              Less Suspense                                                 ($0.00)

            TOTAL PAYMENTS DUE                                            $7,796.70
        7. The Debtor(s) is surrendering the subject property located at 1032 Hawk Hollow Lane, Wake Forest, NC
27587. The Debtor has stated this in the Chapter 7 Statement of Intent.

         8.   The approximate payoff is $335,982.99.

         9.   The scheduled value of the subject property is $499,000.00. This information was obtained from Schedule
D.
        10. Upon information and belief, there is a 2nd Deed of Trust on the subject property in favor of Wells Fargo
Home Mortgage, in the amount of $148,561.07. Debtor(s) have stated this on Schedule D.
        11. Although there is equity in the property, the Debtor(s) are surrendering the property and do not plan to make
payments. Nationstar Mortgage LLC d/b/a Mr. Cooper, is entitled to relief pursuant to 11 U.S.C. § 362(d)(1), for cause
shown including, but not limited to, lack of adequate protection.

        NOW THEREFORE, by virtue of the law and by reason of the premises aforesaid, it is Ordered, Adjudged and
Decreed as follows:

         A. Nationstar Mortgage LLC d/b/a Mr. Cooper as servicer for Wells Fargo Bank, National Association, as
Trustee for Structured Adjustable Rate Mortgage Loan Trust, Mortgage Pass-through Certificates, Series 2004-16, or any
successor-in-interest, shall be granted relief from the automatic stay and may proceed with foreclosure of the Debtors' real
property located at 1032 Hawk Hollow Lane, Wake Forest, NC 27587.

         B. The Movant is granted relief from the automatic stay to contact the Debtor by telephone or written
correspondence and, at its option, offer, provide and enter into any potential forbearance agreement, loan modification,
refinance agreement or other loan workout or loss mitigation agreement. Any such communications by or on behalf of the
Movant shall cease immediately upon the written or verbal request of the Debtor.

                                                     End of Document
